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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       Case No. 3:13-CR-056 JD
                                             )
REBECCA TURNER (02)                          )

                                             ORDER

       No objections have been filed to the magistrate judge’s findings and recommendation upon

a plea of guilty issued on June 21, 2013 [DE 46]. Accordingly, the court now ADOPTS those

findings and recommendations, ACCEPTS defendant Rebecca Turner’s plea of guilty, and FINDS

the defendant guilty of Count 2 of the Indictment, in violation of 21 U.S.C. § 841(a)(1).

       SO ORDERED.

       ENTERED: July 17, 2013



                                                    /s/ JON E. DEGUILIO
                                             Judge
                                             United States District Court
